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           January 19, 2021



           MEMO ENDORSED
           BY EMAIL/ECF
           The Honorable Katherine Polk Failla
           United States District Judge
           Southern District of New York
           40 Foley Square
           New York, NY 10007

                                 United States v. Anilesh Ahuja,
                                      18 Cr. 328 (KPF)

           Dear Judge Failla:

                           We write to respectfully request that the Court amend its January 13, 2021
           Order to (a) request declarations from other persons with firsthand knowledge of the events
           in question; and (b) include two additional questions suggested below. We believe that
           these additional declarations and questions will further assist the Court in its efforts to
           understand the relevant facts.

                           In terms of declarants, we respectfully request that Your Honor direct that
           other persons who participated in the events in question be asked to submit declarations as
           to their recollections of those events. So, for example, to the extent Your Honor has asked
           questions about communications between the prosecution and Mr. Majidi and his counsel
           surrounding his plea, we believe that Mr. Majidi’s counsel (and Mr. Majidi himself) may
           have recollections that are useful in reconstructing what happened. While not all of the
           Court’s questions are applicable to people outside the prosecution team, some of them
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clearly are. Particularly to the extent the prosecution team cannot recall the conversations
in question, we believe it makes sense to inquire of others who may remember them.

               With respect to the questions themselves, we respectfully request the
following:

              First, we request that each of the prosecutor-declarants (and, as suggested
above, Mr. Majidi, his attorneys Brian Linder and Seth Rosenberg, and any non-prosecutor
members of the government team present at the plea, such as FBI Agent Matthew
Mahaffey) describe any knowledge he or she has of how and when the government’s
revision of Mr. Majidi’s allocution was communicated to Mr. Majidi and/or his counsel,
including how and when Mr. Majidi came into possession of a written version of the revised
allocution.

                The transcript from Mr. Majidi’s plea demonstrates that he read from a
written document that reflected the government’s re-write of his proposed allocution. It is
not known, however, how the government’s edited text was communicated to Mr. Majidi
or his lawyers; who created the document from which Mr. Majidi read at his plea; or how
that document came to be in Mr. Majidi’s possession in Court on the day of the plea. There
is no record of any email from the government to Mr. Majidi’s lawyers transmitting the
revised allocution, and Mr. Majidi’s lawyer has stated that there is no record on his law
firm’s network of the final allocution. (Trial Tr. 2059:21-24.) It also appears that at the
government’s request, one of the prosecutors met with at least one of Mr. Majidi’s
attorneys in person approximately ten minutes before the plea, but the government has not
identified the reason for making the request or the substance of what was discussed.

               Second, we request that each of the prosecutor-declarants describe the bases
for the government’s representation in its June 8, 2019 letter to the Court—responding to
a Court Order—that the government had reviewed its file, including archived emails, for
“all communications with attorneys for witnesses in this case,” and that there were no
additional responsive communications that should be disclosed. (Dkt. No. 209 at 1–2.)

                As Your Honor is aware, a number of relevant communications with
cooperating witnesses’ attorneys were produced for the first time more than a year after the
government made that representation. Those communications include, among others: (i)
an email to Mr. Majidi’s attorney proposing a meeting before Mr. Majidi’s plea (Dkt. No.
385 at 5–6, Ex. 10); (ii) an email from counsel for Frank Dinucci sending the government
a second, previously unproduced proposed allocution (Dkt. No. 389 at 1–2, Ex. B); and
(iii) an email exchange with counsel for Mr. Dinucci in which the government stated it
would like a hard copy of Mr. Dinucci’s proposed allocution to review (Dkt. No. 392 at 1–
2, Ex. A). Additional communications that the government produced for the first time in
recent months reflect that prosecutors had oral discussions (by telephone or in-person) with
counsel for cooperating witnesses on the date of their pleas or in connection with plea
allocutions. (Dkt. No. 385 at 13–14, Exs. 15-16; Dkt. No. 392 at 1–2, Ex. A.)

             In light of these disclosures, we believe that the prosecutors should be asked
to explain the steps they took before representing that they had reviewed all
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   communications with witnesses’ attorneys in June 2019, including steps taken to locate
   evidence of oral communications; whether they identified any of the undisclosed
   communications at the time; and, if so, why those communications were not disclosed.

                                        Respectfully submitted,


                                        Roberto Finzi
                                        Richard C. Tarlowe
   cc:     Counsel of Record



The Court is in receipt of the above letter from defense counsel.
The Court declines to order affidavits from additional
individuals or to order the existing three affiants to answer the
first question presented above. However, the Court does modify
its January 13, 2021 directive to further require a response to
the second set of questions presented. The prosecutor-affiants
are hereby ORDERED to include in their sworn statements, due on
or before February 12, 2021, an explanation of the steps they
took before representing in their June 8, 2019 letter to the
Court that they had reviewed all communications with witnesses’
attorneys, including steps taken to locate evidence of oral
communications; whether they identified any of the undisclosed
communications at the time; and, if so, why those communications
were not disclosed.



Dated:   January 20, 2021                       SO ORDERED.
         New York, New York



                                                HON. KATHERINE POLK FAILLA
                                                UNITED STATES DISTRICT JUDGE
